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IN 'I`HE UNITED STATES DIS'I`RICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER oF TI-IE sEARcH or
AN APPLE IPHONE MODEL A-1586, _ 1 9 - 0 l 4 l JMC
IMEl # 356146093206317 cURRENTLY case No.

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ALCoHoL, ToBBACo, FIREARMS ANI)
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HoPKINs PLAZA, BALTIMORE,
MARYLAND

 

 

AFFIDAVI'l` IN SUPPORT OF A SEARCI-] AND SEIZURE WARRANT
l, David Cheplak, Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”), being duly sworn, depose and state as follows:
INTRODUCTION

1. The ATF and Baltimore Po]ice Department (“BPD”) have been investigating a
Non-Fatal Shooting that occurred inv a school zone on November l4, 2018 that is linked via
ballistic evidence to a Non-Fatal Shooting that occurredduring the armed robbery of a business
on December 5, 2018. (`Iornell SLATER is one of two subjects believed to be involved in the
_crimes. 1 submit this affidavit in support of an application for a search and seizure warrant
authorizing the search of a cell phone belonging to SLATER, specifically, an Apple iPhone
model A-1586, IMEI # 356146093206317 (hereinafter referred to as the “Subject Electronic
Device”. The Subject Electronic Device is currently stored in a secure manner at the
Baltimore Field Division of the ATF located at 31 Hopkins Plaza, Suite 500J Baltimore,
Maryland. The applied-for Search and seizure warrant would authorize the forensic examination

of the Subject Electronic Device for the purpose of identifying electronically stored data listed

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in Attachment A. The Subject Electronic Device will be reviewed pursuant to the protocol
described in Attachment B.

2. The 8ubject Electronic Device has been stored in a manner in which its contents
are, to the extent material to this investigation, in substantially the same condition as when the
Subject Electronic Device first came into the possession of the law enforcement Any search of
the Subject Electronic Device will occur in an office or laboratory setting on premises controlled
by ATF or their authorized representatives

3. The information set forth in this affidavit derives from my personal knowledge
and observations, discussions with other ATF agents and employees, other law enforcement
officers, and witnesses, and my review of police reports and public records. All conversations
and statements described in this affidavit are related in substance and in part unless otherwise
indicated. Because I submit this affidavit for the limited purpose of establishing probable cause
for a search warrant, l have not included every fact known to me concerning this investigation
Rather, l set forth only those facts that Ibelieve are necessary to establish probable cause. I have
not, however, excluded any information known to me that would defeat a determination of
probable cause.

4. As set forth below, probable cause exists to believe that the Subject Electronic
Device contains evidence, fruits, and instrumentalities of crimes against the United States,
occurring in the District of Maryland, including violations of 18 U.S.C. §922(g), Felon in
Possession of a Firearm; 18 U.S.C. § 922(q)(3)(A), Dischargirig a Firearm within a School Zone;
18 U.S.C. § 1951, Hobbs Act Robbery; and 18 U.S.C. § 924(0), Use of a Firearm in Furtherance

of a Crime of Violence.

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AFFIAN;I` BACKGROUND

5. I have been a Special Agent with A'I`F since 2007 and 1 am currently assigned to
the ATF Baltimore Field Division, Group IV. I attended the Department of Homeland Security’s
Crirninal lnvestigator Training Program and ATF’s Special Agent Basic Training, both located
in Glynco, Georgia, for a combined period of twenty-six weeks. I received extensive training in
the provisions of firearms and narcotics laws administered under Title 18, Title 21 and Title 26
of the United States Code. Prior to joining ATF, I received a bachelor’s and master’s degree
from the University of Florida. I worked for two years as a federal police officer with the Federal
Bureau of lnvestigation Police Unit.

6. ' l have previously participated in multiple investigations involving Felon in
' Possession, Hobbs Act Robbery and acts of violence involving fireanns. Accordingly, l have
been the affiant on search warrants and made arrests of suspects for these offenses and other
violent crimes I am familiar with federal Hobbs Act Robbery statues and the methods employed
by those who perpetrate these acts. l know the location of cell phones used by victims and
suspects before, during, and after criminal events is helpful in investigations of the same. Based
on my training and experience, l know that individuals involved with violent crime frequently
use cellular telephones, communication devices and other electronic media to further their illegal
activity. I also know from my training and experience in investigating violent crime that the call
histories/stored numbers, and stored text messages of cellular phones often yield evidence that
leads to the identification of co-conspirators. In addition, l know based on my training and
experience that individuals who commit criminal acts frequently maintain and use numerous

electronic devices (especially cellular telephones) in an effort to conceal their activities Such

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electronic devices are likely to contain evidence of their communications (by telephone, text
messagc, email, social media, or otherwise) with co-conspirators. Electronic devices kept by
individuals who commit criminal acts are also likely to contain the names, addresses, email
addresses, and/or telephone numbers of associates and co-conspirators. Further, individuals who
commit acts of violence often take or cause to be taken photographs of themselves their
associates, their property and their firearms These traffickers usually maintain these photographs
in their possession, in locations such as their homes, vehicles, electronic devices, or on their
' person.

7. Furthermore, l know that cellular service providers maintain antenna towers (“cell
towers”) that serve specific geographic areas Eac`h cell tower receives signals from wireless
devices, such as cellular phones, in its general vicinity. These cell towers allow the wireless
devices to transmit or receive communications such as phone calls, text messages and other
data. The tower closest to a wireless device does not necessarily serve every call made to or
from that device. ln addition to a unique telephone number, each cell phone is identified by one
or more unique identifiers Depending on the cellular network and the device, the unique
identifiers for a cell phone could include an Electronic Serial Number (“ESN”), a Mobile
Electronic Identity Number (“MEIN”), a Mobile Identification Number`(“MlN”), a Subscriber
Identity Module (“SIM”), a Mobile Subscriber Integrated Services Digital Network Number
(“MSISDN”), an Intemational Mobile Subscriber ldentifier (“IMSI”), or an International Mobile
Equipment Identity (“lMEl”). Cellular service providers routinely maintain historical cell~tower
log information, including records identifying the wireless telephone calls and communications

that used a particular tower. For each communication, these records may include the telephone

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call number and unique identifiers for the wireless device in the vicinity of the tower that made
or received the communication (“the locally served wireless device”); the source and destination
telephone numbers associated with the communication (including the number of the telephone
that called or was called by the locally served Wireless device); the date, time, and duration of the
c_ommunication; the “sectors” (i.e., the faces of the towers) that received a radio signal from the
locally served device; and the type of communication transmitted through the tower (such as
phone call or text message). Based on these factors, l know that cellular telephone towers retain
information that allow law enforcement to analyze and compare the cellular telephone numbers
of potential suspects to the cellular telephone numbers contained within a cellular telephone
tower’s records This comparison can help identify or eliminate suspects
PROBABLE CAUSE

8. On November ]4, 2018, at approximately 4:37 p.m., BPD officers were
dispatched to Sinai Hospital in Baltimore, Maryland in reference to a walk-in shooting victim. _
At the hospital, officers encountered a 34 year-oldlfemale victim (hereinafter referred to as
“Victim D.S.”) who had been shot in her right shoulder Victim D.S. told BPD detectives that
she had been shot earlier that afternoon in the 2500 Biock of Springhill Avenue, Baltimore,
Maryland. Victirn D.S. explained that she had been following a “candy-apple red” Nissan
Altima because she had observed her Maryland temporary registration tag (T719824), which had
been stolen from her vehicle on or about October 26, 2018, affixed to the Nissan Altima. Victim
D.S. reported that she had seen the same Nissan Altima bearing her stolen temporary registration
tag approximately two weeks prior and attempted to follow it on that date as well, but was pulled

over by a marked BPD patrol vehicle for a traffic violation prior to her being able to confront the

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driver.l Victim D.S noted that on the day she was shot, she followed the red Nissan Altima until
it reached the 2500 Block of Springhill Avenue, where the Nissan Altima came to a stop. Victim
D.S then pulled along the driver side of the Nissan Altima, at which time the driver of the Nissan
Altima, a black male, exited the driver door. Victim D.S recalled that the driver approached her
passenger window, stated "What the fuck you following me for?" and then shot her. Victim D.S
added that the suspect was wearing a gray sweatshirt with blue and orange stripes and observed
that he had a few gold teeth in his mouth. Victim D.S also observed a second individual in the
vehicle, whom she believes was a female. As Victim D.S. exited her vehicle and ran away from
the scene, her vehicle, which had been left in drive, rolled down the hill and struck the chain link
felice that surrounds the Dr. Martin Luther King, Jr. Elementary School. BPD officers and crime
scene technicians subsequently responded to the area described by Victim D.S., where they
recovered two 9mm Shell casings in the street Based on the location of the shell casings, it was
determined that the shooting incident occurred within 1000 feet of the school property.

9. On December 5, 2018, at approximately 4:49 a.m., BPD officers responded to the
Restaurant Depot facility located at 3405 Annapolis Road, Baltimore, Maryland in response to
reports of an active shooter. 'l`he investigation revealed that two armed suspects tried to rob the

business and shot one of the employees (a 48-year old male hereinafter referred to‘ as “Victim

 

1 Subsequent investigation also revealed that on November 1, 2018, a Baltimore City Automated
Red Light Enforcement Prograrn Camera took a picture of a red Nissan Altima bearing Victim

D.S.’s stolen temporary registration tag.
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P.R.”) during the attempted robbery.2 'I`wo 9mm shell casings were recovered from the crime
scene. Based on an interview of Victim P.R., who recognized one of the suspects, and
interviews of other eye-witness victims of the attempted armed robbery, detectives were able to
develop a former employee of the business named Cornell SLATER as the suspect who shot
Victim P.R. BPD subsequently obtained an arrest warrant for SLATER for various charges,
including Armed Robbery and Attempted Murder. 7

10. On December 7, 2018, investigators received a “Lead Notification” from the
National Integrated Ballistics Inforrnation Network (NIBI`N). NIBIN creates leads based on
ballistic similarities between expended shell casings that have likely been fired from the same
firearm. The NlBI`N lead indicated that the 9mm shell casings recovered at the scene of the
shooting of Victim D.S. in the 2500 Block of Springhill Avenue matched the 9mm shell casings
recovered at the scene of the shooting of Victim P.R. at the Restaurant Depot. lnvestigators later
received a NlBlN “Hit Confirmation” from the `BPD Firearms Analysis Unit that positively `
confirmed a ballistic match between the 9mm shell casings recovered from the two shootings

ll. Based on statements from employees at the Restaurant Depot, BPD identified
Alexxis W right (also a fenner employee of Restaurant Depot) as SLATER’s girlfriend Utilizing
various law enforcement databases, BPD investigators developed 528 Realm Ct. E, Odenton,

MD as a possible address for Ms Wright.

 

2 Restaurant Depot is described on its website as “a members-only wholesale cash and carry
foodservice supplier.” The company has locations throughout the United States.
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12. On December 18, 2018, at approximately 12:30 p.m., BPD and Anne Arundel
Police Department (AAPD) officers established surveillance at 528 Realm Ct. E, Odenton,
Maryland and observed a red Nissan Altima matching the description of the vehicle provided by
Victim D.S. parked in front of the residence Officers observed Maryland temporary registration
tag T733547 on the Nissan Altima but recognized that it was not the same as the tag stolen from
Victim D.S’s vehicle. However, officers queried tag T733547 and leamed that it too had been
reported as stolen. At approximately 2130 p.m., officers observed an individual matching
SLATER’s description exit the residence through the front door and open the rear driver's side
passenger door of the red Nissan Altima. He was observed leaning into the rear of vehicle
Afier a few seconds, he closed the rear passenger door of the vehicle and entered back into 528
Realm Ct E through the front door. Approximately 10 minutes later, the same individual exited
the residence through the front door and opened the driver’s door in an attempt to enter the red
Nissan Altima. At that time, several officers converged on the male subject and he was detained
without incident. The subject was subsequently confirmed to be SLATER and he was placed
under arrest. During a Search lncident to Arrest of SLATER’s person, officers recovered a silver
Apple iPhone model A-1586 (the Subject Electronic Device), a set of house keys, and the keys
to the red Nissan Altima. A query of the Nissan Altima’s Vehicle Identifrcation Number (VI`N)
revealed that the vehicle is registered to SLATER but does not have an active license tag.

13. A review of SLATER’s criminal history revealed that he is prohibited from
possessing a firearm and/or ammunition and has been convicted of the following offenses:

a) Januar'y 2006 - Baltimore City Circuit Cour‘t case # 204302029; Contro`lled

Dangerous Substance (CDS) Manufacture/Distribute/Dispense; sentenced
to 6 years

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b) January 2006 ~ Baltimore City Circuit Court case # 204364048; CDS
Manufacture/Distribute/Dispense; sentenced to 6 years

c) June 2006 ~ Baltimore City Circuit Court case # 204302030; CDS_
Possession With Intent to Distribute (PWID); sentenced to 8 years

d) April 2008 - US District Court for Maryland case # CCB-07-0320; PWID
Cocaine; sentenced to 8 % years

e) April 2013 - Baltimore City Circuit Court case # 113038021; Firearm
Possession With Felony Conviction; sentenced to 5 years

f) July 2013 - US District Court for Maryland case # CCB-07-0320; Violation
of Probation / Possession of a Handgun With a Felony Conviction;
sentenced to 2 years

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14. Based on the information set forth in this affidavit, I believe that probable cause
exists that in the Subject Electronic Device, there is evidence, fruits, and instrumentalities of the
crimes of 18 U.S.C. § 922(g), Felon in Possession; 922(q)(3)(A), Discharging a Firearm within a
School Zone; 18 U.S.C. § 1951, Hobbs Act Robbery; and 18 U.S.C. § 924(0), Use of a Firearm
in Furtherance of a Crime of Violencei l respectfully request that this Court issue a search
warrant for the Subject Electronic Device, an Apple iPhone model A-1586, IMEI #
3561460932063]7, and authorize the search and the seizure of the items described in
Attachments A, according to the protocols set forth in Attachment B.

15. To the extent that the warrant authorizes the seizure of any tangible property, any
wire or electronic communication (as defined in 18 U.S.C. § 2510), or any stored wire or
electronic information, there is reasonable necessity for the seizure for the reasons set forth
above. Because this warrant seeks only permission to examine'a device already in law

enforcement’s possession, the execution of this warrant does not involve the physical intrusion

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onto a premises Consequently, l submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.

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Special Agent DayiffCheplak
Bureau of Alcohol, Tobacco, Firearms and Explosives

Sworn to before me this l g day of January 2019.

 

Hon. l ark Coulsdn
U.S. agistrate ludge, District of Maryland

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